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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:10CR186
                                              )
                Plaintiff,                    )
                                              )
                vs.                           )              TENTATIVE FINDINGS
                                              )
CRYSTAL RAE HATFIELD,                         )
                                              )
                Defendant.                    )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 70). The government adopted the PSR (Filing

No. 67). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to the lack of a downward adjustment for the safety valve.

However, the PSR included the adjustment for the safety valve in ¶ 19 under U.S.S.G. §

2D1.1(b)(11).1 Therefore, the Defendant's objections are denied.

       IT IS ORDERED:

       1.       The Defendant’s objections to the PSR are denied;

       2.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary



       1
           The PSR erroneously states the adjustment is under U.S.S.G. § 2D1.1(b)(16).
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and

      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 9th day of December, 2010.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         United States District Judge




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